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 4
                                 UNITED STATES DISTRICT COURT
 5
                               SOUTHERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,
 7                                                    Case No.: 19-cr-01610-GPC
                  Plaintiff,
 8                                                    Defendant’s Supplemental Letters in Support
 9         v.                                         of Sentencing

10   NORBERTO ENRIQUE MURIEL                          April 11, 2023, 10:00 a.m.

11   CASTRILLON (9),
12
     Defendant.
13
14
           I.     Introduction
15
16         Mr. Muriel asks this Court to consider the attached letters:

17         Pages 1- 2: From Mr. Muriel’s mother;

18         Pages 3-6: From Mr. Muriel’s wife (under seal)
19
           Page 7: Mr. Muriel’s aunt.
20
           II.    Conclusion
21
          Mr. Muriel asks for a time-served (roughly 58-month) sentence.
22
23   Dated: April 10, 2023                          Respectfully submitted,
24
                                                    /s/ Knut Johnson
25
                                                    Knut S. Johnson
26                                                  Attorney for Mr. Muriel
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                                                                                    19-cr-01610-GPC
